      Case 4:22-cv-00341 Document 34 Filed on 06/16/22 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                              UNITED STATES DISTRICT COURT                               June 16, 2022
                               SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


MALIKA MITCHELL-STEWART,                        §
                                                §
         Plaintiff,                             §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:22-CV-00341
                                                §
JPMORGAN CHASE & CO., et al.,                   §
                                                §
         Defendants.                            §

                ORDER OF DISMISSAL ON SETTLEMENT ANNOUNCEMENT

       The Court has been informed that a settlement of this lawsuit has been reached. The case

is DISMISSED without prejudice to the right of the parties to move for reinstatement within ninety

(90) days after the entry of this Order.

       It is so ORDERED.

       SIGNED on June 16, 2022, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




1/1
